         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 1 of 25



                         UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS

                                  BOSTON DIVISION

FACULTY, ALUMNI, AND STUDENTS
OPPOSED TO RACIAL PREFERENCES;
COALITION FOR MERITOCRACY AT
UNIVERSITIES,

                    Plaintiffs,
                                            Civil Action No. 1:18-cv-12105
v.
                                            Oral Argument Requested
HARVARD LAW REVIEW
ASSOCIATION; PRESIDENT AND
FELLOWS OF HARVARD COLLEGE;
BETSY DeVOS, in her official capacity as
U.S. Secretary of Education; UNITED
STATES OF AMERICA,

                    Defendants.


       MEMORANDUM IN SUPPORT OF DEFENDANT HARVARD LAW REVIEW
     ASSOCIATION’S MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
             Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 2 of 25
                                                   TABLE OF CONTENTS

                                                                                                                                     Page

STATEMENT OF FACTS ............................................................................................................. 2
STANDARD OF REVIEW ............................................................................................................ 5
ARGUMENT .................................................................................................................................. 6
I.        Plaintiffs Lack Article III Standing..................................................................................... 6
II.       Plaintiffs Fail To State a Claim Upon Which Relief Can Be Granted................................ 9
          A.         Plaintiffs Have Not Adequately Alleged That HLRA Receives
                     Federal Funding .................................................................................................... 10
          B.         Plaintiffs Have Not Adequately Alleged That HLRA Is a
                     “Program or Activity” of Harvard University ...................................................... 11
          C.         Plaintiffs Have Not Advanced a Cognizable Claim That HLRA
                     Discriminates on the Basis of Race or Sex ........................................................... 15
CONCLUSION ............................................................................................................................. 19
             Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 3 of 25
                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

FEDERAL CASES

ACA Fin. Guaranty Corp. v. Advest, Inc.,
  512 F.3d 46 (1st Cir. 2008) ......................................................................................................19

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................5, 9, 11, 15, 18

Associated Gen. Contractors of Am. v. Cal. Dep’t of Transp.,
   713 F.3d 1187 (9th Cir. 2013) ...................................................................................................7

Berner v. Delahanty,
   129 F.3d 20 (1st Cir. 1997) ........................................................................................................6

Cannon v. Univ. of Chicago,
   441 U.S. 677 (1979) .............................................................................................................8, 12

Clapper v. Amnesty Int’l, USA,
   568 U.S. 398 (2013) ...................................................................................................................6

Clorox Co. Puerto Rico v. Proctor & Gamble Commercial Co.,
   228 F.3d 24 (1st Cir. 2000) ......................................................................................................13

Cohen v. Brown University,
   101 F.3d 155 (1st Cir. 1996) ................................................................................................2, 16

Davis v. Monroe Cty. Bd. of Educ.,
   526 U.S. 629 (1999) .................................................................................................................12

Dep’t of Transp. v. Paralyzed Veterans of Am.,
   477 U.S. 597 (1986) ...........................................................................................................10, 11

Draper v. Healey,
   827 F.3d 1 (1st Cir. 2016) (Souter, J.) ...............................................................................1, 7, 9

Ezell v. Lexington Insurance Co.,
   335 F. Supp. 3d 91 (D. Mass. 2018),
   appeal docketed, No. 18-2064 (1st Cir. Oct. 29, 2018) ...........................................................18

Fisher v. University of Texas at Austin (“Fisher II”),
   136 S. Ct. 2198 (2016) ...................................................................................................2, 17, 18

Food & Water Watch, Inc. v. Vilsack,
   808 F.3d 905 (D.C. Cir. 2015) ...................................................................................................6

Frazier v. Fairhaven Sch. Comm.,
   276 F.3d 52 (1st Cir. 2002) ......................................................................................................12
             Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 4 of 25
                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)

Georgia Republican Party v. SEC,
   888 F.3d 1198 (11th Cir. 2018) .................................................................................................7

Grutter v. Bollinger,
   539 U.S. 306 (2003) ...........................................................................................................16, 18

Hochendoner v. Genzyme Corp.,
   823 F.3d 724 (1st Cir. 2016) ......................................................................................................5

Hunt v. Washington State Apple Advertising Comm’n,
   432 U.S. 333 (1977) ...................................................................................................................7

Juarez v. Select Portfolio Servicing, Inc.,
   708 F.3d 269 (1st Cir. 2013) ......................................................................................................5

Lam v. Curators of the Univ. of Missouri at Kansas City Dental Sch.,
   122 F.3d 654 (8th Cir. 1997) ...................................................................................................13

Lemos v. Bank of America,
   132 F. Supp. 3d 261 (D. Mass. 2015) ....................................................................................5, 6

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014) ...................................................................................................................8

Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ...............................................................................................................6, 7

Maldonado v. Fontanes,
   568 F.3d 263 (1st Cir. 2009) ....................................................................................................11

NCAA v. Smith,
  525 U.S. 459 (1999) .....................................................................................................11, 12, 14

OCA-Greater Houston v. Texas,
  867 F.3d 604 (5th Cir. 2017) .....................................................................................................6

Ouachita Watch League v. U.S. Forest Service,
   858 F.3d 539 (8th Cir. 2017) .....................................................................................................7

Regents of Univ. of California v. Bakke,
   438 U.S. 265 (1978) ...........................................................................................................16, 18

Segelman v. City of Springfield,
   561 F. Supp. 2d 123 (D. Mass. 2008) ......................................................................................19

Sexual Minorities Uganda v. Lively,
   960 F. Supp. 2d 304 (D. Mass. 2013) ........................................................................................6




                                                                    iii
             Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 5 of 25
                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)

Shotz v. City of Plantation,
   344 F.3d 1161 (11th Cir. 2003) ...............................................................................................12

Southern Walk at Broadlands Homeowner’s Ass’n v.
   OpenBand at Broadlands, LLC,
   713 F.3d 175 (4th Cir. 2013) .....................................................................................................7

Spokeo, Inc v. Robins,
   136 S. Ct. 1540 (2016) ...........................................................................................................6, 9

Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,
   No. 14-cv-14176-ADB, 2017 WL 2407254 (D. Mass. June 2, 2017) .......................................2

Summers v. Earth Island Inst.,
   555 U.S. 488 (2009) ...............................................................................................................1, 7

Swanson Group Mfg. LLC v. Jewell,
   790 F.3d 235 (D.C. Cir. 2015) ...................................................................................................7

Tennessee Republican Party v. SEC,
   863 F.3d 507 (6th Cir. 2017) .....................................................................................................7

Trans-Spec Truck Serv., Inc. v. Caterpillar Inc.,
   524 F.3d 315 (1st Cir. 2008) ....................................................................................................13

United States ex. rel. Gagne v. City of Worcester,
   565 F.3d 40 (1st Cir. 2009) ......................................................................................................19

United States ex rel. Cunningham v. Millennium Labs., Inc.,
   202 F. Supp. 3d 198 (D. Mass. 2016) ........................................................................................5

United States v. AVX Corp.,
   962 F.2d 108 (1st Cir. 1992) ..................................................................................................6, 7

United States v. Sowers,
   136 F.3d 24 (1st Cir. 1998) ........................................................................................................8

Warth v. Seldin,
  422 U.S. 490 (1975) ...................................................................................................................6

Watterson v. Page,
   987 F.2d 1 (1st Cir. 1993) ........................................................................................................13

Whitmore v. Arkansas,
   495 U.S. 149 (1990) ...................................................................................................................9




                                                                    iv
             Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 6 of 25
                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                                  Page(s)

FEDERAL STATUTES

20 U.S.C. § 1681 ................................................................................................................ 1, passim

20 U.S.C. § 1681(a) .......................................................................................................................10

20 U.S.C. § 1687(2)(A)..................................................................................................................12

42 U.S.C. § 2000d .............................................................................................................. 1, passim

42 U.S.C. § 2000d-4a(2)(A) ..........................................................................................................12

FEDERAL REGULATIONS

28 C.F.R. § 42.102(c).....................................................................................................................10

34 C.F.R. § 106.3(b) ......................................................................................................................16

34 C.F.R. § 106.11 .........................................................................................................................12

FEDERAL RULES

Fed. R. Civ. P. 10(c) ......................................................................................................................13

Fed. R. Civ. P. 12(b)(1)....................................................................................................................1

Fed. R. Civ. P. 12(b)(6)..........................................................................................................2, 5, 13

OTHER AUTHORITIES

Collins Dictionary (2010) ..............................................................................................................13

Oxford English Dictionary (2015) .................................................................................................12

Secretary of Commonwealth, Corporations Division, Business Entity Summary:
   The Harvard Law Review Association, http://corp.sec.state.
   ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?FEIN=04210
   4292&SEARCH_TYPE=1 (last visited Feb. 25, 2019)...........................................................13




                                                                      v
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 7 of 25



       Plaintiffs’ Amended Complaint does not cure the fatal defects that Defendant Harvard Law

Review Association (“HLRA”) identified in its original motion to dismiss. There is a simple

explanation why: The Amended Complaint fails to state a claim as a matter of law, and no amount

of repleading can repair that. Plaintiffs have not included any allegations that would subject HLRA

to either Title VI (42 U.S.C. § 2000d) or Title IX (20 U.S.C. § 1681). Nonetheless, to remedy the

statutory violations they allege, Plaintiffs seek extraordinary judicial relief that would transform

this Court into an Article III Editor-In-Chief, with the responsibility to oversee HLRA’s editor-

and article-selection decisions. The Amended Complaint should therefore be dismissed.

       As an initial matter, Plaintiffs Faculty, Alumni, and Students Opposed to Racial

Preferences (“FASORP”) and Coalition for Meritocracy at Universities (“CMU”) have failed to

establish that they have standing to sue. Under binding Supreme Court and First Circuit precedent,

to satisfy the requirements of Article III, an association must expressly identify at least one member

who has suffered a cognizable injury. E.g., Summers v. Earth Island Inst., 555 U.S. 488, 498

(2009); Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2016) (Souter, J.). Plaintiffs have done no such

thing—even after HLRA highlighted this straightforward requirement in its first motion to dismiss.

This Court accordingly lacks jurisdiction and must dismiss Plaintiffs’ claims under Federal Rule

of Civil Procedure 12(b)(1).

       Plaintiffs’ claims also fail on the merits. To state a claim under Titles VI and IX, Plaintiffs

must allege that they have suffered discrimination based on race or sex in a “program or activity

receiving Federal financial assistance.” See 20 U.S.C. § 1681; 42 U.S.C. § 2000d. Plaintiffs

nowhere allege any facts demonstrating that HLRA receives federal funding, and they do not allege

facts sufficient to establish that HLRA qualifies as a “program or activity” of Harvard University.




                                                  1
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 8 of 25



       Equally fatal, Plaintiffs have not alleged actionable discrimination. HLRA’s consideration

of race and sex is consistent with Supreme Court and First Circuit precedent. The First Circuit

said decades ago that affirmative action is permissible under the civil rights statutes. See Cohen

v. Brown University, 101 F.3d 155, 170 n.11, 172 (1st Cir. 1996). And the Supreme Court has

rejected the notion that an entity “discriminates” when it considers applicants’ race and sex as part

of its admissions or selection processes. Time and again, the Supreme Court has approved of race-

and sex-conscious decision-making, so long as race and sex are used as part of a holistic process,

instead of mechanically. See, e.g., Fisher v. University of Texas at Austin (“Fisher II”), 136 S.

Ct. 2198, 2208 (2016). Plaintiffs’ claim therefore amounts to a plea for this Court to overturn

binding First Circuit and Supreme Court precedent—“something it decidedly cannot do.” Students

for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., No. 14-cv-14176-ADB, 2017

WL 2407254, at *1 (D. Mass. June 2, 2017).

       Because Plaintiffs’ allegations fail to satisfy even the most forgiving pleading standard

after two attempts, and because HLRA’s selection processes are not subject to and do not violate

Titles VI and IX under binding Circuit precedent, this Court should dismiss the Amended

Complaint with prejudice. Ezell v. Lexington Insurance Co., 335 F. Supp. 3d 91, 97 n.1 (D. Mass.

2018), appeal docketed, No. 18-2064 (1st Cir. Oct. 29, 2018).

                                   STATEMENT OF FACTS 1

        Plaintiffs FASORP and CMU are “unincorporated nonprofit membership association[s]”

that seek to “eliminat[e] the use of race and sex preferences” at American universities. Amended



       1
         Solely for purposes of this Motion, and as required under Federal Rule of Civil Procedure
12(b)(6), Defendant HLRA assumes the truth of the facts asserted by Plaintiffs in their Amended
Complaint.




                                                 2
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 9 of 25



Complaint (“Am. Compl.”), at ¶¶ 3-4, 36, ECF No. 33. Plaintiffs allege that their “membership”

includes a range of injured individuals—including “[a]t least one” prospective applicant to HLRA

and “[a]t least one” author who intends to submit his or her work for publication. Id. at ¶¶ 38–40. 2

       Defendant HLRA “is a student-run organization whose primary purpose is to publish” the

Harvard Law Review (“the Law Review”), “a journal of legal scholarship.” Amended Complaint

Ex. 1 (“Ex. 1”) at 1, ECF No. 33-1. “The organization is formally independent of the Harvard

Law School.” Id.

       Plaintiffs’ Amended Complaint focuses on two specific components of HLRA’s

independent operations: its selection of new members and its selection of articles to publish. Am.

Compl. ¶¶ 9–19. As relevant to membership selection, HLRA invites forty-eight editors to join

each year from the rising second-year class of Harvard law students. Id. ¶ 15. Of those forty-eight

new members, twenty are selected based solely on their scores on an annual writing competition;

ten are selected based on a combination of their writing-competition scores and first-year grades;

and eighteen are selected “through a holistic but anonymous review that takes into account all

available information.”    Id. ¶¶ 15–16.     Applicants are not required to provide additional

information for consideration through the holistic process, but those who wish to do so can

“indicate their racial or ethnic identity, physical disability status, gender identity, sexual

orientation, and socioeconomic status.” Id. ¶ 17; see also Ex. 1 at 5–7 (HLRA’s editor-selection

policy). Applicants also may submit an expository statement that “describes aspects of their

background not fully captured” elsewhere in the application materials. Am. Compl. ¶ 17. Those


       2
          Although some of the allegations in the Amended Complaint imply that Plaintiffs’
membership includes HLRA alumni (Am. Compl. ¶¶ 32–33) and Law Review authors (id. ¶ 31),
Plaintiffs do not actually allege that their membership includes such individuals. Compare id. ¶¶
38–40 (alleging that “[a]t least one member” of FASORP and CMU is a prospective Law Review
editor and “[a]t least one member” is a prospective Law Review author).




                                                 3
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 10 of 25



statements are considered only after the writing-competition portion of the applications has been

graded. Ex. 1 at 6. In making editor-selection decisions, HLRA “remains strongly committed to

a diverse and inclusive membership.” Am. Compl. ¶ 16.

       As for article selection, HLRA’s student editors are solely responsible for selecting the

legal scholarship that will be published in the Law Review. Id. ¶ 9; see Ex. 1 at 1 (“Student editors

make all editorial and organizational decisions and, together with a professional business staff of

three, carry out day-to-day operations.”). Much of the scholarship published in the Law Review

(e.g., notes, recent case comments, and recent legislative comments) is written by its student

editors. Ex. 1 at 2. The full-length articles selected for publication in the Law Review are written

by “professors, judges, and practitioners,” and the Law Review also solicits book reviews from

“recognized experts.” Id.

       FASORP filed suit against HLRA (along with several other defendants) on October 6,

2018. Complaint, ECF No. 1. HLRA moved to dismiss FASORP’s initial complaint on December

17, 2018. ECF No. 23. In response, FASORP, joined by CMU, filed an Amended Complaint on

January 7, 2019. ECF No. 33. Like the initial complaint, the Amended Complaint alleges that

HLRA’s editor- and article-selection processes violate Title VI, 42 U.S.C. § 2000d, and Title IX,

20 U.S.C. § 1681.3 Am. Compl. ¶ 46. Specifically, Plaintiffs assert that HLRA uses holistic

review to “discriminate in favor of women, ‘underrepresented’ racial minorities, homosexuals, and

transgendered people when selecting its members and editors, by allowing members of these

groups to leapfrog candidates with better grades or better scores on the writing competition.” Id.



       3
         The Amended Complaint also includes allegations involving faculty hiring at Harvard
Law School. Am. Compl. ¶¶ 23, 41–42, 48. Plaintiffs do not allege that HLRA has any
involvement in the Law School’s faculty hiring, so this memorandum does not address those
allegations.




                                                 4
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 11 of 25



¶ 18.   Plaintiffs further allege that, in selecting which articles to publish, HLRA “giv[es]

preferential treatment to articles written by women or racial minorities.” Id. ¶ 19.

        To remedy these alleged violations, Plaintiffs request several forms of relief. Id. ¶ 59.

First, Plaintiffs seek a declaration that HLRA’s editor- and article-selection policies violate Title

VI and Title IX. Id. ¶ 59(a). Second, they demand an injunction that would require HLRA to enact

new article- and editor-selection policies for the Law Review that “disavow” any consideration of

diversity. Id. ¶ 59(b), (d). Third, they demand injunctive relief that would require HLRA to pre-

clear its annual editor-selection decisions with this Court and the Secretary of Education. Id.

¶ 59(e). Fourth, Plaintiffs seek similar pre-clearance of HLRA’s article-selection policy, which

they claim cannot permit student editors even to know an author’s name before accepting the

author’s piece for publication. Id. ¶ 59(f).

                                    STANDARD OF REVIEW

        “In opposing a motion to dismiss for lack of subject matter jurisdiction . . . , the plaintiff

bears the burden of establishing that the Court has jurisdiction.” United States ex rel. Cunningham

v. Millennium Labs., Inc., 202 F. Supp. 3d 198, 202 (D. Mass. 2016). To carry its burden, the

plaintiff must “establish[] sufficient factual matter to plausibly demonstrate his standing to bring

the action.” Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016). “Neither

conclusory assertions nor unfounded speculation can supply the necessary heft.” Id.

        To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Lemos v. Bank of America, 132 F. Supp. 3d 261, 263 (D. Mass. 2015)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “‘[F]actual allegations’ must be separated

from ‘conclusory statements in order to analyze whether the former, if taken as true, set forth a

plausible, not merely a conceivable, case for relief.’” Id. (quoting Juarez v. Select Portfolio



                                                  5
            Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 12 of 25



Servicing, Inc., 708 F.3d 269, 276 (1st Cir. 2013)) (alteration in original). A court need not “accept

every allegation made by the complainant, no matter how conclusory or generalized.” Id. (quoting

United States v. AVX Corp., 962 F.2d 108, 115 (1st Cir. 1992)) (internal quotation marks omitted).

“Dismissal for failure to state a claim is appropriate when the pleadings fail to set forth ‘factual

allegations, either direct or inferential, respecting each material element necessary to sustain

recovery under some actionable legal theory.’” Id. (quoting Berner v. Delahanty, 129 F.3d 20, 25

(1st Cir. 1997)).

                                            ARGUMENT

I.      Plaintiffs Lack Article III Standing

        To invoke the jurisdiction of the federal courts, a plaintiff must establish Article III

standing. Clapper v. Amnesty Int’l, USA, 568 U.S. 398, 408 (2013). To do that, a plaintiff must

“clearly . . . allege facts demonstrating” the three elements that constitute the “irreducible

constitutional minimum of standing.” Warth v. Seldin, 422 U.S. 490, 518 (1975); Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). Specifically, a plaintiff must show that it has

“(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc v. Robins, 136

S. Ct. 1540, 1547 (2016).

        Because FASORP and CMU are organizations, as opposed to individuals, they must

establish at least three additional elements to have Article III standing. 4 First, their members must


        4
           A plaintiff organization also can try to establish that it has “organizational standing”—
that is, that it would have standing in its own right. See, e.g., Sexual Minorities Uganda v. Lively,
960 F. Supp. 2d 304, 324–25 (D. Mass. 2013); see also, e.g., OCA-Greater Houston v. Texas, 867
F.3d 604, 610 (5th Cir. 2017); Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir.
2015). But Plaintiffs are not pursuing this standing theory. Neither FASORP nor CMU alleges
any institutional injury separate and apart from its members’ alleged injuries. Cf. Am. Compl.
¶¶ 26–27 (quoting the requirements for associational standing).




                                                   6
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 13 of 25



have standing to sue in their own right. Hunt v. Washington State Apple Advertising Comm’n, 432

U.S. 333, 343 (1977). Second, the interests the associations seek to protect through the litigation

must be “germane to [their] purpose.” Id. Third, “neither the claim asserted nor the relief

requested [should] require[] the participation of individual members in the lawsuit.” Id. See

generally United States v. AVX Corp., 962 F.2d 108, 116 (1st Cir. 1992).

       “The party invoking federal jurisdiction bears the burden” of establishing all of these

elements. Lujan, 504 U.S. at 561. Plaintiffs have not carried that burden. As a result, this Court

lacks subject-matter jurisdiction.

       Most obviously, neither FASORP nor CMU has shown that any of its members have

standing to sue. The Supreme Court, the First Circuit, and at least six other federal courts of

appeals have made clear that an association cannot satisfy this first prong of the Hunt test without

specifically identifying at least one member who would have standing to sue in his or her own

right. See, e.g., Summers, 555 U.S. at 498 (a plaintiff-organization cannot establish standing

without “mak[ing] specific allegations establishing that at least one identified member had suffered

or would suffer harm” (emphasis added)); Draper, 827 F.3d at 3 (to have associational standing,

an organization must, “at the very least,” “name[] an injured individual” (emphasis added)). 5 And

for good reason. Without that information, “how is the court to assure itself” that an association

truly has any members, or confirm that any one of those members “meet[s] all of the[] criteria”

necessary to have standing? Summers, 555 U.S. at 499. It cannot.



       5
         See also e.g., Georgia Republican Party v. SEC, 888 F.3d 1198, 1203–05 (11th Cir.
2018); Ouachita Watch League v. U.S. Forest Service, 858 F.3d 539, 543–44 (8th Cir. 2017);
Tennessee Republican Party v. SEC, 863 F.3d 507, 520–21 (6th Cir. 2017); Swanson Group Mfg.
LLC v. Jewell, 790 F.3d 235, 242, 244–46 (D.C. Cir. 2015); Southern Walk at Broadlands
Homeowner’s Ass’n v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013);
Associated Gen. Contractors of Am. v. Cal. Dep’t of Transp., 713 F.3d 1187, 1194 (9th Cir. 2013).




                                                 7
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 14 of 25



       HLRA explained this straightforward requirement in its initial motion to dismiss, and yet

Plaintiffs’ Amended Complaint remains deficient. Plaintiffs again insist that their membership

includes injured individuals, but they do not identify a single one. This omission forecloses this

Court from exercising jurisdiction.

       To be sure, Plaintiffs’ Amended Complaint does include three new paragraphs, which

allege that the organizations’ membership includes “[a]t least one” prospective Law Review editor

and “[a]t least one” prospective Law Review author. Am. Compl. ¶¶ 38-40. But these vague

allegations are plainly insufficient. 6 Under the binding precedent set forth above, this Court may

not simply take Plaintiffs at their word regarding their membership. Instead, the First Circuit


       6
           Even if Plaintiffs’ vague allegations about their membership were sufficient, Plaintiffs
conspicuously fail to allege that their membership includes “[a]t least one” current Law Review
editor, HLRA alumnus, or author who has participated in the Law Review’s editorial process.
Plaintiffs therefore may not rely on several of the “injuries” included in their Amended Complaint.
See, e.g., Am. Compl. ¶ 31 (alleging that “[t]hose [authors] who have their articles accepted by the
journal must submit to a student-run editing process” whose quality is “dilute[d]” by HLRA’s “use
of race and sex preferences”); id. ¶ 32 (alleging that HLRA’s “race and sex preferences . . .
diminish the prestige of the law-review credential” for alumni editors); id. ¶ 33 (alleging that
female and minority alumni of the Law Review “suffer an additional ‘injury in fact’ because their
law-review membership is now viewed with suspicion”).

        Moreover, even if Plaintiffs had identified “[a]t least one” member of each of these groups,
they could not assert claims on their behalf. The private right of action under Titles VI and IX
extends only to those who have been discriminated against, see Cannon v. Univ. of Chicago, 441
U.S. 677, 713 (1979); yet many of the allegedly injured individuals described in the Amended
Complaint do not themselves claim to have suffered discrimination based on their race or sex. See,
e.g., Am. Compl. ¶ 31 (alleging that authors whose articles are accepted are injured—not by
themselves suffering discrimination, but by having to endure less qualified editors who joined the
Law Review instead of other students who suffered discrimination). This disconnect between the
injuries alleged and the victims of the alleged discrimination gives rise to a zone-of-interests and
third-party standing problem that requires the dismissal of any claims brought on behalf of
individuals who do not themselves claim to have suffered discrimination. See United States v.
Sowers, 136 F.3d 24, 27 (1st Cir. 1998); Lexmark Int’l, Inc. v. Static Control Components, Inc.,
572 U.S. 118, 129 (2014).




                                                 8
           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 15 of 25



requires them to “name[] an injured individual” before they can proceed past the pleading stage

and into discovery. E.g., Draper, 827 F.3d at 3 (“[W]hy the advocacy group would have needed

formal discovery to identify which of its own members may have been injured . . . is a mystery the

group leaves unsolved.”). 7

II.    Plaintiffs Fail To State a Claim Upon Which Relief Can Be Granted

       In addition to this jurisdictional problem, Plaintiffs’ Amended Complaint is deficient on

the merits. Title VI and Title IX apply only to discrimination on the basis of race (Title VI) or sex

(Title IX) in a “program or activity receiving Federal financial assistance.” See 20 U.S.C. § 1681;

42 U.S.C. § 2000d. To survive a 12(b)(6) motion, then, Plaintiffs must adequately allege one of

two theories: (1) HLRA is a federal funding recipient that discriminates on the basis of race or sex,

or (2) HLRA (or the Law Review) discriminates on the basis of race or sex and is a “program or

activity” of Harvard University, itself a federal funding recipient. But Plaintiffs’ Amended

Complaint fails to adequately allege either one of these theories. First, Plaintiffs do not adequately

allege that HLRA receives federal financial assistance. On that basis alone, HLRA is not subject



       7
          Not only do Plaintiffs lack associational standing, many of the injuries that they allege
are also deficient as a matter of law and under the Iqbal/Twombly pleading standard. To satisfy
the requirements of Article III, an alleged injury may not be “conjectural or hypothetical.”
Whitmore v. Arkansas, 495 U.S. 149, 155 (1990) (citation and internal quotation marks omitted).
Yet several of Plaintiffs’ alleged injuries are precisely that. The “injuries” set forth in paragraphs
30 through 33 of the complaint rely on the wholly conjectural speculation that students who are
selected through holistic review are inherently “less capable” editors than students who are
selected based on their law school grades or their performance in the writing competition.
Similarly, the “injuries” set forth in paragraph 35 hinge entirely on the hypothetical acceptance of
Plaintiffs’ members as Law Review editors. Equally problematic, several of Plaintiffs’ alleged
injuries cannot be redressed by the prospective injunctive relief it seeks. See, e.g., Am. Compl.
¶ 32 (alleging that alumni suffer from diminished prestige because holistic review has tarnished
the reputation of the Law Review); id. ¶ 33 (alleging that the inability to prove that they earned a
position on the Law Review through their grades or their writing-competition scores, as opposed
to through holistic review, injures female and minority alumni’s credentials); Spokeo, 136 S. Ct.
at 1547 (affirming redressability requirement).




                                                  9
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 16 of 25



to suit under Title VI or Title IX and must be dismissed as a defendant. Second, Plaintiffs do not

adequately allege that the Law Review constitutes a “program or activity” of Harvard such that its

conduct may be attributed to the University under the statutes. Nor do they adequately allege

conduct that constitutes discrimination under Title VI or Title IX. The Amended Complaint thus

must be dismissed.

        A.      Plaintiffs Have Not Adequately Alleged That HLRA Receives Federal Funding

        Both Title VI and Title IX expressly limit their coverage to “program[s] or activit[ies]

receiving Federal financial assistance.”       42 U.S.C. § 2000d (emphasis added); 20 U.S.C.

§ 1681(a) (emphasis added). This limitation makes sense: In essence, Titles VI and IX establish

a quid pro quo, in which a recipient agrees to abide by certain non-discrimination requirements in

exchange for receiving federal funding. Dep’t of Transp. v. Paralyzed Veterans of Am., 477 U.S.

597, 605–06 (1986) (“Under the program-specific statutes, Title VI, Title IX, and § 504, Congress

enters into an arrangement in the nature of a contract with the recipients of the funds: the recipient’s

acceptance of the funds triggers coverage under the nondiscrimination provision.”). Naturally,

only those entities that have actually received federal funding in exchange for promising to abide

by the statutes’ non-discrimination requirements can be sued for breaking that promise. See id.

        Although Plaintiffs originally said nothing about whether HLRA receives federal funding,

they have since revised their complaint to include a conclusory allegation that it does. Am. Compl.

¶ 49 (“The Harvard Law Review is a ‘program or activity’ that ‘receives Federal financial

assistance’ within the meaning of Title VI and Title IX.”). But this new allegation is little

improvement over Plaintiffs’ initial silence. Plaintiffs say nothing that specifies the source or kind

of “Federal financial assistance” they insist HLRA receives. And they certainly do not provide

any factual support for the idea that HLRA receives any of the types of “federal financial

assistance” that must be shown under the relevant regulations. See 28 C.F.R. § 42.102(c) (defining



                                                  10
        Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 17 of 25



the term to include “(1) Grants and loans of Federal funds, (2) The grant or donation of Federal

property . . . , (3) The detail of Federal personnel, (4) The sale and lease of, and the permission to

use . . . Federal property . . . , and (5) Any Federal agreement, arrangement, or other contract which

has as one of its purposes the provision of assistance”). Instead, Plaintiffs’ new allegation is

precisely the kind of “[t]hreadbare recital[] of the elements of a cause of action” that “do[es] not

suffice” after Iqbal. Maldonado v. Fontanes, 568 F.3d 263, 268 (1st Cir. 2009) (quoting Iqbal,

556 U.S. at 678).

       Later in the Amended Complaint, Plaintiffs allege that some “student members of the

Harvard Law Review receive federal financial assistance to pay their law-school tuition.” Am.

Compl. ¶ 50. But Plaintiffs do not allege that HLRA itself actually receives any of those federal

tuition funds. The student editors’ alleged financial assistance is, accordingly, irrelevant and

cannot bring HLRA within the ambit of Title VI or IX. See NCAA v. Smith, 525 U.S. 459, 468

(1999) (holding that Title IX covers entities that actually receive federal funds directly or

indirectly, but not entities that merely benefit in some way from federal funding); see also U.S.

Paralyzed Veterans of Am., 477 U.S. at 607 (interpreting § 504 of the Rehabilitation Act of 1973

in the same way).

       B.      Plaintiffs Have Not Adequately Alleged That HLRA Is a “Program or
               Activity” of Harvard University

       Perhaps because they cannot successfully allege that HLRA itself is a federal funding

recipient, Plaintiffs now assert that HLRA is covered by Titles VI and IX as a “program or activity”

of Harvard University, which is a federal funding recipient. Am. Compl. ¶ 49. As an initial matter,

even if this conclusory legal allegation were true—that is, even if HLRA were indeed a “program

or activity” of Harvard University—that proposition would not support naming HLRA as a

defendant. Courts have uniformly held that Titles VI and IX afford a cause of action only against




                                                 11
            Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 18 of 25



the recipient of federal funding itself because, as explained above, that entity alone is a party to

the quid pro quo arrangement that gives the federal anti-discrimination statutes their force. See

supra Part II.A; e.g., Frazier v. Fairhaven Sch. Comm., 276 F.3d 52, 65 (1st Cir. 2002) (Title IX’s

right of action “extends only to claims against the educational institution itself”); Shotz v. City of

Plantation, 344 F.3d 1161, 1170–71 (11th Cir. 2003) (“Title VI . . . precludes liability against

those who do not receive federal funding.”). 8 For that reason, HLRA is not a proper defendant

under any circumstances.

        In any event, Plaintiffs have not adequately alleged that HLRA is a “program or activity”

of Harvard University. Under Titles VI and IX, a “program or activity” is defined to mean, as

relevant here, “all of the operations of . . . a college, university, or other postsecondary institution.”

20 U.S.C. § 1687(2)(A); 42 U.S.C. § 2000d-4a(2)(A). In other words, to qualify as a “program or

activity,” HLRA must be an “operation[] of” Harvard University. Id. Plaintiffs’ Amended

Complaint establishes nothing of the sort.

        Though case law exploring what it means to be an “operation[]” of an educational

institution is sparse, the plain meaning of the word itself provides one obvious limiting principle:

to be an “operation[]” of Harvard University, HLRA must be operated—or controlled—by

Harvard University. See, e.g., 34 C.F.R. § 106.11 (Title IX regulations apply to “the education

program or activity operated by [the] recipient which receives Federal financial assistance”

(emphasis added)); see also, e.g., Oxford English Dictionary (2015) (defining “operate” as “to


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         See also Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 641 (1999) (declining to extend
Title IX liability beyond the scope of “the Government’s enforcement power,” which “may only
be exercised against the funding recipient”); NCAA, 525 U.S. at 467 n. 5 (rejecting suggestion
“that the private right of action available under [Title IX] is potentially broader than the
Government’s enforcement authority”); Cannon, 441 U.S. at 678 (“Title IX was patterned after
Title VI . . . , and the drafters of Title IX explicitly assumed that it would be interpreted and
enforced in the same manner”).




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           Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 19 of 25



manage or direct”); Collins Dictionary (2010) (“to control the functioning of” or “to manage,

direct, run, or pursue”); Lam v. Curators of the Univ. of Missouri at Kansas City Dental Sch., 122

F.3d 654, 656 (8th Cir. 1997) (noting that the “program[s] or activit[ies]” listed as examples in

Title IX’s legislative history are all “controlled by and inure some benefit to the institution”

(emphasis added)). Not only is that reading of “operation[]” compelled by the word’s plain

meaning, it is also the only reading that makes sense given the quid pro quo that Titles VI and IX

envision: An educational institution can only promise to prevent discrimination by “program[s]

or activit[ies]” over which it exercises control.

       Plaintiffs, however, have not alleged any facts that would support the conclusion that

Harvard University “operat[es]” HLRA. Indeed, as mentioned above, their own Exhibit states that

HLRA is “formally independent” of the University. 9 Ex. 1 at 1. And HLRA’s official corporate

records confirm this alleged independence.          See Secretary of Commonwealth, Corporations

Division, Business Entity Summary: The Harvard Law Review Association, http://corp.sec.state.

ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?FEIN=042104292&SEARCH_TYPE=1 (last

visited Feb. 25, 2019) (summary of the Harvard Law Review Association’s corporate filings with

the Commonwealth of Massachusetts); Watterson v. Page, 987 F.2d 1, 3–4 (1st Cir. 1993) (noting

that consideration of “official public records” on a motion to dismiss is appropriate and does not

convert the motion into one for summary judgment). According to Plaintiffs’ own pleading and


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          Where, as here, written instruments are provided as exhibits to a pleading, the exhibit “is
a part of the pleading for all purposes.” Fed. R. Civ. P. 10(c); see also Trans-Spec Truck Serv.,
Inc. v. Caterpillar Inc., 524 F.3d 315, 321 (1st Cir. 2008). Indeed, when “a complaint’s factual
allegations are expressly linked to—and admittedly dependent upon—a document (the authenticity
of which is not challenged), that document effectively merges into the pleadings and the trial court
can review it in deciding a motion to dismiss under Rule 12(b)(6).” Trans-Spec Truck Serv., 524
F.3d at 321 (citation omitted). Moreover, when “a written instrument contradicts allegations in
the complaint to which it is attached, the exhibit trumps the allegations.” Clorox Co. Puerto Rico
v. Proctor & Gamble Commercial Co., 228 F.3d 24, 32 (1st Cir. 2000) (citation omitted).




                                                    13
        Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 20 of 25



the “official public records” of the Commonwealth of Massachusetts, then, HLRA is not an

“operation[]”—and, thus, not a “program or activity”—of Harvard University.

       Plaintiffs have tried to compensate for their inability to allege operative control by adding

allegations that highlight that HLRA and Harvard University are not wholly unrelated. See Am.

Compl. ¶ 50. Nevertheless, the connection these allegations draw between HLRA and Harvard

University cannot overcome HLRA’s independence and establish that either it or its publication,

the Law Review, is an “operation[] of” the University.        For instance, Plaintiffs allege that

enrollment at Harvard Law School is a prerequisite to being selected as a Law Review editor. Id.

But HLRA’s voluntary and unilateral decision to select only Harvard Law School students as the

Law Review’s editors in no way transforms HLRA into an “operation” of the University. Id.

Plaintiffs do not allege that the University mandated this policy, nor do they allege that the

University could stand in the way if HLRA decided to welcome editors from outside the Harvard

student body. After all, if a Boston law firm hired exclusively Harvard Law School graduates,

would that hiring practice render the law firm an “operation[] of” the law school? Certainly not.

Plaintiffs’ allegation about HLRA’s independently chosen applicant pool is similarly

inconsequential.

       Plaintiffs also allege various ways that HLRA interacts with the University. See id. But

these allegations do not address the question of whether Harvard University operates HLRA within

the meaning of the statute. Indeed, the Supreme Court has made pellucid that the mere acceptance

of benefits from a federal funding recipient does not subject an entity to Titles VI and IX. See

NCAA, 525 U.S. at 468. It does not matter whether Harvard University helps HLRA obtain its

prospective editors’ first-year grades, permits faculty to “assist and advise” HLRA, or permits

HLRA to use space on campus. Am. Compl. ¶ 50. What matters under the law is whether the




                                                14
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 21 of 25



University manages or controls HLRA—and none of these allegations state, or even support an

inference, that it does.

        Finally, Plaintiffs allege that HLRA is “subject to rules and regulations that the Law School

or University chooses to establish.” Id. They do not identify any examples of “rules and

regulations” that bind HLRA, nor do they attempt to reconcile this assertion with their exhibit

stating both that the Law Review is “independent” of Harvard and that its “editors make all editorial

and organizational decisions.” Ex. 1 at 1. Even taking the conclusory allegation as true, moreover,

the existence of rules and regulations that apply generally across the University in no way indicates

that Harvard “control[s] the functioning of,” “manage[s], direct[s], [or] “run[s]” HLRA. Such

rules thus cannot render HLRA an “operation” of the University.

        In short, Plaintiffs have not alleged a single fact from which one could conclude that the

University actually controls, manages, funds, or in any other manner “operates” HLRA.

        C.      Plaintiffs Have Not Advanced a Cognizable Claim That HLRA Discriminates
                on the Basis of Race or Sex

        Finally, Plaintiffs fail to adequately allege that HLRA’s editor- or article-selection policies

amount to illegal discrimination or exclusion under Title VI or Title IX.

        First, with respect to article selection, Plaintiffs include only the solitary allegation that

HLRA “giv[es] preferential treatment to articles written by women or racial minorities.” Am.

Compl. ¶ 19. Plaintiffs provide no factual basis whatsoever for this speculative theory; they do

not define “preferential treatment”; they give no indication as to how they believe this so-called

preferential treatment operates—or how it, in turn, violates the law; and they have not identified a

single article or author that has been refused publication as a result of this alleged preference. This

threadbare allegation cannot satisfy the pleading standard set forth in Iqbal, so all of Plaintiffs’

claims involving article selection must be dismissed. See 556 U.S. at 687.




                                                  15
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 22 of 25



       As for editor selection, Plaintiffs’ assertion that HLRA considers race and sex as part of its

selection processes does not allege actionable discrimination under Titles VI and IX. Decades

ago, the First Circuit stated, in no uncertain terms, that those statutes “permit[] affirmative action.”

Cohen, 101 F.3d at 170; id. at 170 n.11 (“Title IX itself specifies only that the statute shall not be

interpreted to require gender-based preferential or disparate treatment. . . . [A]lthough Congress

could easily have done so, it did not ban affirmative action . . . under Title IX.”); cf. 34 C.F.R.

§ 106.3(b) (“[A] recipient may take affirmative action to overcome the effects of conditions which

resulted in limited participation therein by persons of a particular sex.”). And the Supreme Court

has blessed a range of affirmative-action programs in suits that included statutory anti-

discrimination claims. 10 See, e.g., Grutter v. Bollinger, 539 U.S. 306 (2003); Regents of Univ. of

California v. Bakke, 438 U.S. 265 (1978) (opinion of Powell, J.). Together, these cases indicate

that a plaintiff may not survive a motion to dismiss simply by alleging that an organization has

sought to expand opportunities for underrepresented groups like women or minorities by using

holistic race- and sex-conscious policies. Yet that is essentially all Plaintiffs have alleged. Am.

Compl. ¶ 13; Ex. 3.



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           The Supreme Court has not yet clarified whether the restrictions imposed by the Equal
Protection Clause and Titles VI and IX are coextensive. Nor has it expressly extended the holdings
from its affirmative-action precedents from the public-university context to the private sector. The
Court has, however, squarely rejected the view that the anti-discrimination statutes impose a more
stringent restriction on affirmative-action policies than the Constitution. See Grutter, 539 U.S. at
343 (“Title VI . . . proscribe[s] only those racial classifications that would violate the Equal
Protection Clause.” (quoting Bakke, 438 U.S. at 287 (opinion of Powell, J.)); Bakke, 438 U.S. at
284 (Title VI did not “enact[] a purely color-blind scheme”). And, given the remedial nature of
Titles VI and IX, there is good reason to think that those statutes afford organizations even greater
latitude as far as the diversity policies they can choose to employ. The same is true of HLRA’s
private status and its role as a publisher of important legal scholarship: those considerations only
bolster the organization’s case for broader leeway in exercising its discretion to pursue its
compelling First Amendment interests. Cf. Bakke, 438 U.S. at 312–13 (indicating that academic
freedom is a “special concern of the First Amendment”).




                                                  16
        Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 23 of 25



       Moreover, the meager factual allegations in Plaintiffs’ Amended Complaint only further

align HLRA’s diversity policies with the policies the Supreme Court has previously approved.

First, those cases have specifically endorsed holistic review—that is, a “contextual” consideration

of race or sex that does not involve a “mechanical plus factor for underrepresented minorities.”

Fisher II, 136 S. Ct. at 2207. HLRA’s editor-selection policy, as set forth in the Amended

Complaint and the incorporated exhibits, plainly contemplates precisely that approach. Plaintiffs

acknowledge this. Their Amended Complaint alleges that HLRA engages in “holistic” review and

considers race and sex contextually. Am. Compl. ¶¶ 15–18. According to Plaintiffs’ own

allegations, HLRA selects eighteen editors through a comprehensive review process “that takes

into account all available information.” Id. ¶ 16. Review of applicants is based on their first-year

grades and their competition scores, as well as information that the applicants choose to provide

regarding their racial or ethnic identity, physical disability status, gender identity, sexual

orientation, socioeconomic status, and other aspects of their identity or background. Id. ¶¶ 16–18.

Thus, taking Plaintiffs’ allegations as true, race and sex are but one potential factor out of a wide

range of factors that are considered during editor selection. See id. This is exactly the type of

holistic consideration that the Supreme Court has repeatedly deemed permissible.

       Second, the Supreme Court has stressed that organizations are not to “impose a fixed

quota.” Fisher II, 136 S. Ct. at 2208. Plaintiffs do assert in one paragraph of their Amended

Complaint that HLRA has a “fixed, numerical set-aside of 18 slots reserved for ‘diversity’

candidates.” Am. Compl. ¶ 53. But insofar as Plaintiffs’ scare quotes mean to suggest that those

eighteen slots can be filled only by applicants of a certain race or sex, that conclusory assertion

directly conflicts with the Amended Complaint’s more detailed description of HLRA’s process.

In those paragraphs, the Amended Complaint makes clear that all applicants to HLRA, regardless




                                                 17
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 24 of 25



of race or sex, are eligible for all forty-eight editor positions, including the eighteen positions

selected through the holistic-review process. Id. ¶¶ 16-18. Such a policy is not a “quota,” as the

Supreme Court has defined it. According to the Court, “properly understood, a ‘quota’ is a

program in which a certain fixed number or proportion of opportunities are ‘reserved exclusively

for certain minority groups.’” Grutter, 539 U.S. at 334 (citation omitted). Even according to

Plaintiffs’ own description, HLRA’s policy does not function in that manner.              Plaintiffs’

conclusory labeling of HLRA’s policy as a “quota” is therefore irrelevant. 11 Iqbal, 556 U.S. at

679 (“[Courts] are not bound to accept as true a legal conclusion couched as a factual allegation.”

(citation omitted)).

       Taking all of the allegations in Plaintiffs’ Amended Complaint as true, Plaintiffs have

simply alleged that HLRA approaches editor selection in a manner that is virtually identical to the

way the public universities approached admissions in Bakke, Grutter, and Fisher. Without more,

there is simply no reason to permit this suit to proceed past the pleadings stage and into discovery.

                                          *      *       *

       Following Defendants’ initial motions to dismiss, Plaintiffs were on notice of the many

deficiencies with the merits of their claims. Yet those deficiencies are still present, even after

Plaintiffs amended their complaint. There is no reason to think permitting Plaintiffs to continue

amending their complaint will lead to better results. The Court should accordingly dismiss

Plaintiffs’ claims with prejudice and deny them leave to amend their complaint another time. Ezell,


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           To the extent that Plaintiffs mean to imply that HLRA’s holistic-review process operates
differently in practice than the way they describe in their Amended Complaint, Plaintiffs provide
no factual basis for that suggestion. See Am. Compl. ¶ 18 (calling HLRA’s editor-selection
process “purportedly ‘holistic’” (emphasis added)). This type of vague, speculative allegation
cannot survive scrutiny. Iqbal, 556 U.S. at 679 (“[W]here the well-pleaded facts do not permit the
court to infer more than the mere possibility of misconduct, the complaint . . . has not shown . . .
that the pleader is entitled to relief.” (alterations and citations omitted)).




                                                 18
         Case 1:18-cv-12105-LTS Document 43 Filed 02/28/19 Page 25 of 25



335 F. Supp. 3d at 97 n.1 (“If the amended complaint is deficient, dismissal will be with

prejudice.”); Segelman v. City of Springfield, 561 F. Supp. 2d 123, 125 (D. Mass. 2008) (“A ruling

allowing a Motion to Dismiss for failure to state a claim is presumed to be with prejudice . . .

[p]articularly where, as here, Plaintiff has had an opportunity to review and amend the complaint,

and where its contents still cannot withstand analysis . . . .”). 12

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs’ claims should be dismissed with prejudice.

Dated: February 28, 2019


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          See also United States ex. rel. Gagne v. City of Worcester, 565 F.3d 40, 48 (1st Cir.
2009) (“Reasons for denying leave include . . . repeated failure to cure deficiencies, undue
prejudice to the opposing party, and futility.”); ACA Fin. Guaranty Corp. v. Advest, Inc., 512
F.3d 46, 57 (1st Cir. 2008) (“[P]laintiffs do not get leisurely repeated bites at the apple.”).



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